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    REED SMITH LLP                                                            REED SMITH LLP
    Aaron Javian, Esq.                                                        Timothy P. Law, Esq. (admitted pro hac vice)
    John B. Berringer, Esq.                                                   1717 Arch Street
    599 Lexington Avenue                                                      Three Logan Square, Suite 3100
    New York, NY 10022                                                        Philadelphia, PA 19103
    Telephone: (212) 521-5400                                                 Telephone: (215) 851-8100
    Facsimile: (212) 521-5450                                                  Facsimile: (215) 851-1420
    E-mail: ajavian@reedsmith.com                                             E-mail: tlaw@reedsmith.com
    E-mail: jberringer@reedsmith.com
                                                                              Special Insurance Counsel for Debtor
                                                                              and Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                          :
    In re:                                                                :          Chapter 11
                                                                          :
    THE ROMAN CATHOLIC DIOCESE OF                                         :          Case No. 20-12345 (MG)
    ROCKVILLE CENTRE, NEW YORK,1                                          :
                                                                          :
                           Debtor.                                        :
                                                                          :

FORTY-FIRST MONTHLY STATEMENT OF REED SMITH LLP, AS SPECIAL INSURANCE
     COUNSEL FOR THE DEBTOR AND DEBTOR IN POSSESSION, OF FEES FOR
   PROFESSIONAL SERVICES RENDERED AND DISBURSEMENTS INCURRED FOR
         THE PERIOD FEBRUARY 1, 2024 THROUGH FEBRUARY 29, 2024


    Name of Applicant:                                                         Reed Smith LLP

    Authorized to Provide Professional Services                                Debtor and Debtor in Possession
    to:

    Date of Retention:                                                         Order entered on November 4, 2020,
                                                                               nunc pro tunc to October 1, 2020

    Period for which compensation and                                          February 1, 2024 to February 29, 2024
    reimbursement is sought:


    Amount of Compensation sought as actual,                                   $194,484.50
    reasonable and necessary:



1
    The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last four digits of its federal tax
identification number are 7437, and its mailing address is 50 North Park Avenue P.O. Box 9023, Rockville Centre, NY 11571-9023.
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                                                                             50% of which is $97,242.252

 Amount of Expense Reimbursement sought as
 actual, reasonable and necessary:                                           $205.60

 Fees and Expenses of Debtor’s Consulting
 Expert (“Expert F&E”)                                                       $10,155.003

 TOTAL (50% of fees, 100% of costs, 100% of
 Expert F&E)                                                                 $107,602.85


             Reed Smith LLP (“Reed Smith”), as Special Insurance Counsel for the Debtor and Debtor-

In Possession, hereby submits this forty-first monthly statement (the “Monthly Statement”) for the

period of February 1, 2024 through February 29, 2024 (the “Statement Period”) for payment of

professional services rendered and reimbursement of expenses incurred during the Statement Period

pursuant to the Court’s Order Authorizing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals [Dkt. No. 129] (the “Fee Procedures Order”). Reed

Smith requests: (a) interim allowance and payment of compensation in the amount of $97,242.25

(50% of $194,484.50) of fees on account of reasonable and necessary professional services rendered

to the Debtor by Reed Smith, (b) reimbursement of actual and necessary costs and expenses in the

amount of $205.60 incurred by Reed Smith during the Statement Period, and (c) reimbursement for

services rendered, and costs and expenses incurred, by Debtor’s consulting expert in the amount of

$10,155.00.

                   FEES FOR SERVICES RENDERED DURING THE STATEMENT PERIOD

             1.         Set forth below is a list of the positions of the Reed Smith professionals and

paraprofessionals who provided services to the Debtor during the Statement Period, their respective


 2
     Per Order Dated December 19, 2023 Regarding Holdback on Professional Fees (Dkt. No. 2743).

 3
     Submitted for payment pursuant to Order Authorizing the Retention of Experts [Dkt. No. 783], ¶ 3.




                                                                         2
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billing rates, and the aggregate hours spent by each professional and paraprofessional in providing

services on behalf of the Debtor during the Statement Period.

              Name                          Title                Department                  Office         JD Year      Rate      Hours     Amount


 J a v ia n, A a ro n              F ix.S h.P a rt ne r   B us ine s s a nd F ina nc e    N e w Y o rk          2004     1,2 8 0    0 .7          $ 8 9 6 .0 0

 Kra m e r, A nn                   F ix.S h.P a rt ne r           Lit iga t io n          N e w Y o rk          19 8 4   740        1.0           $ 7 4 0 .0 0

 Kra m e r, A nn                   F ix.S h.P a rt ne r           Lit iga t io n          N e w Y o rk          19 8 4   1,4 8 0   3 9 .0     $ 5 7 ,7 2 0 .0 0

 La w, T im o t hy                 F ix.S h.P a rt ne r           Lit iga t io n         P hila de lphia        19 9 5   1,3 3 0   10 .3      $ 13 ,6 9 9 .0 0

 B e rringe r, J o hn                  C o uns e l                Lit iga t io n          N e w Y o rk          19 8 0   685        1.0           $ 6 8 5 .0 0

 B e rringe r, J o hn                  C o uns e l                Lit iga t io n          N e w Y o rk          19 8 0   1,3 7 0   4 7 .4     $ 6 4 ,9 3 8 .0 0

 Kim , E s t he r Y .                 A s s o c ia t e            Lit iga t io n         P hila de lphia        2 0 18   765       3 8 .7     $ 2 9 ,6 0 5 .5 0

 La uKa m g, C hris t o phe r         P a ra le ga l      B us ine s s a nd F ina nc e    N e w Y o rk            -      435       2 9 .0      $ 12 ,6 15 .0 0

 S im m o nds , Lia nna E .           P a ra le ga l              Lit iga t io n         P hila de lphia          -      380        3 .4        $ 1,2 9 2 .0 0

 Z ygm und- F e lt , G e o rgia       P a ra le ga l              Lit iga t io n         P hila de lphia          -      380       17 .7        $ 6 ,7 2 6 .0 0
 A.
 S c ha d, J a m e s                     O t he r                 Lit iga t io n         Wa s hingt o n           -      640        8 .7        $ 5 ,5 6 8 .0 0

                                                                                                                                   19 6 .9   $ 19 4 ,4 8 4 .5 0



                                                                                                                                   19 6 .9   $ 19 4 ,4 8 4 .5 0
 TOTAL:

              2.          The rates charged by Reed Smith for services rendered to the Debtor are the same

rates that it charges generally for professional services rendered to its non-bankruptcy clients as

described in the engagement letter between Reed Smith and the Debtor. A complete itemization of

tasks performed by these professionals and paraprofessionals for the Statement Period is annexed

hereto as Exhibit A.


                                  EXPENSES INCURRED DURING THE STATEMENT PERIOD

              3.          Set forth below is a categorical list of expenses incurred by Reed Smith during the

Statement Period in the course of representing the Debtor.



                                     Description                                             Amount
 D uplic a t ing/ P rint ing/ S c a nning                                                         $ 13 1.6 0

 E . Kim R a il T ra v e l E xpe ns e t o A t t e nd t he M . F ut t e r                           $ 7 4 .0 0
 D e po s it io n

 T O T A L:                                                                                      $ 2 0 5 .6 0




                                                                                   3
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                       NOTICE AND OBJECTION PROCEDURES

       4.       Reed Smith has provided notice of this statement upon the following parties by

electronic or first class mail: (i) the Debtor, the Roman Catholic Diocese of Rockville Centre, 50 N.

Park Avenue, P.O. Box 9023, Rockville Centre, NY 11571 (Attn: Thomas Renker); (ii) counsel to

the Debtor, Jones Day, 250 Vesey Street, New York, NY 10281 (Attn: Corinne Ball, Esq., Benjamin

Rosenblum, Esq. and Andrew M. Butler, Esq.); (iii) the Office of the United States Trustee Region

2, Alexander Hamilton Custom House, One Bowling Green, Suite 534, New York, NY 10004 (Attn:

Greg Zipes, Esq. and Shara Cornell, Esq.); and (iv) counsel for the Official Committee of Unsecured

Creditors, Pachulski Stang Ziehl & Jones LLP, 780 Third Avenue, 34th Floor, New York, NY 10017

(Attn: Ilan D. Scharf, Esq., Karen B. Dine, Esq. and Brittany M. Michael, Esq.) and Pachulski Stang

Ziehl & Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067 (Attn: James I.

Stang, Esq.).

       5.       Pursuant to the Fee Procedures Order, objections to this Monthly Statement, if any,

must be served no later than April 10, 2024 (the “Objection Deadline”) upon the following parties:

(i) the Debtor, the Roman Catholic Diocese of Rockville Centre, 50 N. Park Avenue, P.O. Box 9023,

Rockville Centre, NY 11571 (Attn: Thomas Renker); (ii) counsel to the Debtor, Jones Day, 250

Vesey Street, New York, NY 10281 (Attn: Corinne Ball, Esq., Benjamin Rosenblum, Esq. and

Andrew M. Butler, Esq.); (iii) the Office of the United States Trustee Region 2, Alexander Hamilton

Custom House, One Bowling Green, Suite 534, New York, NY 10004 (Attn: Greg Zipes, Esq. and

Shara Cornell, Esq.); (iv) counsel for the Official Committee of Unsecured Creditors, Pachulski

Stang Ziehl & Jones LLP, 780 Third Avenue, 34th Floor, New York, NY 10017 (Attn: Ilan D. Scharf,

Esq., Karen B. Dine, Esq. and Brittany M. Michael, Esq.) and Pachulski Stang Ziehl & Jones LLP,

10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067 (Attn: James I. Stang, Esq.); and (v)


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Special Insurance Counsel, Reed Smith LLP, 599 Lexington Avenue, New York, NY 10022 (Attn:

Aaron Javian, Esq. and John B. Berringer, Esq.) and Reed Smith LLP, 1717 Arch Street, Three

Logan Square, Suite 3100, Philadelphia, PA 19103 (Attn: Timothy P. Law, Esq.).

       6.      If no objections to this Monthly Statement are received by the Objection Deadline,

the Debtor will be authorized thereafter to pay Reed Smith 50% of the fees and 100% of the expenses

identified in the Monthly Statement as well as 100% of the Expert F&E.

       7.      To the extent an objection to the Monthly Statement is received on or before the

Objection Deadline, the Debtor will withhold payment of that portion of the Monthly Statement to

which the objection is directed and is authorized to pay the remainder of fees and expenses in the

percentages set forth above. To the extent such objection is not resolved, it shall be preserved and

presented to the Court at the next interim or final fee application hearing to be heard in accordance

with paragraph 2(k) of the Fee Procedures Order.




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Dated: March 26, 2024
       New York, New York
                                        REED SMITH LLP

                                         /s/ Aaron Javian
                                         Aaron Javian, Esq.
                                         John B. Berringer, Esq.
                                         599 Lexington Avenue
                                         New York, NY 10022
                                         Telephone: (212) 521-5400
                                         Facsimile: (212) 521-5450
                                         E-mail: ajavian@reedsmith.com
                                         E-mail: jberringer@reedsmith.com

                                         -and-

                                         REED SMITH LLP
                                         Timothy P. Law, Esq. (admitted pro hac vice)
                                         1717 Arch Street
                                         Three Logan Square, Suite 3100
                                         Philadelphia, PA 19103
                                         Telephone: (215) 851-8100
                                         Facsimile: (215) 851-1420
                                         E-mail: tlaw@reedsmith.com

                                         Special Insurance Counsel for Debtor and
                                         Debtor in Possession




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                  EXHIBIT A
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                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                  599 Lexington Avenue
                                                                                                                                                                             22nd Floor
                                                                                                                                                                   New York, NY 10022
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX



           ABU DHABI  ATHENS  AUSTIN BEIJING BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI
MUNICH NEW YORK ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE TYSONS  WASHINGTON, D.C.  WILMINGTON




        R.C. Diocese of Rockville Centre                                                                     Invoice Number:                                3713028
        50 No. Park Avenue                                                                                   Invoice Date:                                 3/25/2024
        Att: William G. Chapin                                                                               Client Number:                                   504893
        Rockville Centre, NY 11570                                                                           Matter Number:                            504893.20001
        US - UNITED STATES


                                                                           REMITTANCE PAGE
                                                PLEASE RETURN THIS COPY WITH YOUR PAYMENT

        RE: Non-Working Travel




        Total Current Fees...............................................................................................$                                            1,425.00

                                  Total Due This Invoice:                                                                                             $               1,425.00




        Please Remit to:
                                                Mail To:                                                         Wire Instructions:
                                                Reed Smith LLP                                                   BNY Mellon Bank N.A.
                                                Lockbox 10096                                                    Philadelphia, PA
                                                PO BOX 70280                                                     ABA Number: 031000037
                                                Philadelphia, PA 19176-0280                                      Swift Code: IRVTUS3N (International)
                                                                                                                 Account #2-022-986
                                                                                                                 (Please Reference Invoice Number)
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                                                                                                                                                                  599 Lexington Avenue
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                                                                                                                                                                   New York, NY 10022
                                                                                                                                                            Telephone: -+1 215 851 8100
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                                                                                                                                                                   Tax ID # XX-XXXXXXX



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        R.C. Diocese of Rockville Centre                                                                     Invoice Number:                                3713028
        50 No. Park Avenue                                                                                   Invoice Date:                                 3/25/2024
        Att: William G. Chapin                                                                               Client Number:                                   504893
        Rockville Centre, NY 11570                                                                           Matter Number:                            504893.20001
        US - UNITED STATES




        RE: Non-Working Travel


                                                                           INVOICE SUMMARY

        Total Current Fees...............................................................................................$                                            1,425.00

                                  Total Due This Invoice:                                                                                             $               1,425.00




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                                                Philadelphia, PA 19176-0280                                      Swift Code: IRVTUS3N (International)
                                                                                                                 Account #2-022-986
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                                                                                                                                                                   New York, NY 10022
                                                                                                                                                            Telephone: -+1 215 851 8100
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                                                                                                                                                                   Tax ID # XX-XXXXXXX



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        R.C. Diocese of Rockville Centre                                                                     Invoice Number:                                3713028
        50 No. Park Avenue                                                                                   Invoice Date:                                 3/25/2024
        Att: William G. Chapin                                                                               Client Number:                                   504893
        Rockville Centre, NY 11570                                                                           Matter Number:                            504893.20001
        US - UNITED STATES



        DETAIL FOR PROFESSIONAL SERVICES RENDERED THROUGH February 29, 2024

         Date                Timekeeper                            Description                                                                                          Hours

         02/02/24            A. Kramer                             Travel to and from meeting with Expert at Jones                                                          1.00
                                                                   Day.
         02/27/24            J.B. Berringer                        Travel to attendance at prep. session with W.                                                            0.50
                                                                   Chapin.
         02/29/24 J.B. Berringer                                   Travel to attendance at W. Chapin deposition.                                                            0.50
         Total Hours                                                                                                                                                        2.00


        SUMMARY OF PROFESSIONAL SERVICES:

         Timekeeper                                                                                            Hours                         Rate                         Total
         Ann V. Kramer                                                                             1.00 hrs @ $                   740.00 / hr                           740.00
         John B. Berringer                                                                         1.00 hrs @ $                   685.00 / hr                           685.00
         Total Professional Services                                                                                                                                1,425.00

        INVOICE SUMMARY

        Total Fees                                                                                                                                    $               1,425.00

        TOTAL CURRENT INVOICE DUE                                                                                                                     $               1,425.00

                                  Total Amount Due                                                                                                    $               1,425.00




        File No. 504893.20001                                          Invoice No. 3713028                                                                           Page 1
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                                                                                                                                                                         Reed Smith LLP
                                                                                                                                                                     Three Logan Square
                                                                                                                                                                               Suite 3100
                                                                                                                                                                         1717 Arch Street
                                                                                                                                                                  Philadelphia, PA 19103
                                                                                                                                                             Telephone: -+1 215 851 8100
                                                                                                                                                                   Fax: -+1 215 851 1420
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MUNICH ♦ NEW YORK ♦ ORANGE COUNTY ♦ PARIS ♦ PHILADELPHIA ♦ PITTSBURGH ♦ PRINCETON ♦ RICHMOND ♦ SAN FRANCISCO ♦ SHANGHAI ♦ SILICON VALLEY ♦ SINGAPORE ♦ TYSONS ♦ WASHINGTON, D.C. ♦ WILMINGTON




       R.C. Diocese of Rockville Centre                                                                      Invoice Number:                                  3713025
       50 No. Park Avenue                                                                                    Invoice Date:                                   3/25/2024
       Att: William G. Chapin                                                                                Client Number:                                     504893
       Rockville Centre, NY 11570                                                                            Matter Number:                              504893.60005
       US - UNITED STATES


                                                                           REMITTANCE PAGE
                                                PLEASE RETURN THIS COPY WITH YOUR PAYMENT

      RE: Chapter 11 Insurance Recovery




      Total Current Fees...............................................................................................$                                          186,421.50

      Total Current Expenses and Other Charges ....................................................... $                                                                  205.60

                                  Total Due This Invoice:                                                                                              $          186,627.10




      Please Remit to:
                                                 Mail To:                                                       Wire Instructions:
                                                 Reed Smith LLP                                                 BNY Mellon Bank N.A.
                                                 P.O. Box 360110                                                Philadelphia, PA
                                                 Pittsburgh, PA 15251-6110                                     ABA Number: 031000037
                                                                                                               Swift Code: IRVTUS3N (International)
                                                                                                               Account #2-022-986
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                                                                                                                                                                         1717 Arch Street
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       R.C. Diocese of Rockville Centre                                                                      Invoice Number:                                  3713025
       50 No. Park Avenue                                                                                    Invoice Date:                                   3/25/2024
       Att: William G. Chapin                                                                                Client Number:                                     504893
       Rockville Centre, NY 11570                                                                            Matter Number:                              504893.60005
       US - UNITED STATES




      RE: Chapter 11 Insurance Recovery


                                                                           INVOICE SUMMARY

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       Total Current Expenses and Other Charges ....................................................... $                                                                 205.60

                                  Total Due This Invoice:                                                                                              $          186,627.10




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                                                 Pittsburgh, PA 15251-6110                                     ABA Number: 031000037
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       R.C. Diocese of Rockville Centre                                                                      Invoice Number:                                  3713025
       50 No. Park Avenue                                                                                    Invoice Date:                                   3/25/2024
       Att: William G. Chapin                                                                                Client Number:                                     504893
       Rockville Centre, NY 11570                                                                            Matter Number:                              504893.60005
       US - UNITED STATES



      DETAIL FOR PROFESSIONAL SERVICES RENDERED THROUGH February 29, 2024

        Date                Timekeeper                             Description                                                                                           Hours

        02/01/24            T.P. Law                               Forward redlines of joint letter to Magistrate                                                            0.40
                                                                   Judge Cave to A. Smith for Arrowood to comment
                                                                   or finalize.
        02/01/24            J.B. Berringer                         Emails with Evanston, LMI counsel re:                                                                     5.30
                                                                   depositions, discovery schedule (.90); review of
                                                                   draft letters to Court re: same (.40); assemble
                                                                   Case Reports for A. Kramer, emails Kramer, W.
                                                                   Chapin re: same (1.9); review of Case Reports
                                                                   email B. Davey re: same (.80); review C. Ball
                                                                   emails, A. Kramer reply re: Settlement Demands
                                                                   to Insurers (.80); arrangements re: Chapin
                                                                   deposition (.50).
        02/01/24            C.M. LauKamg                           Analyze USBC SDNY docket, USBC SDNY                                                                       0.80
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
        02/01/24            A. Kramer                              Finalize message to JD re: demand process                                                                 4.70
                                                                   (.30); communications with JD and RS Teams re:
                                                                   demand issues (.60); continued analysis of
                                                                   demand claims (.70); finish review/analysis of
                                                                   valuation report (3.1).
        02/02/24            C.M. LauKamg                           Analyze USBC SDNY docket, USBC SDNY                                                                       1.40
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
        02/02/24            C.M. LauKamg                           Arrange USBC SDNY February 6, 2024 Hearing                                                                0.40
                                                                   Appearances and circulate confirmations of
                                                                   same.




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        Date                Timekeeper                             Description                                                                                            Hours

        02/02/24            J.B. Berringer                         Review Moffitt emails and Order re: LMI                                                                   0.40
                                                                   discovery.
        02/02/24            A. Kramer                              Meeting with expert and E. Stephens (1.8);                                                                2.00
                                                                   meeting with C. Ball and E. Stephens re demand
                                                                   cases (.20).
        02/05/24            C.M. LauKamg                           Revise USBC SDNY February 6, 2024 Hearing                                                                 0.40
                                                                   Appearances and circulate confirmations of same
                                                                   to Attorneys.
        02/05/24            T.P. Law                               Email exchanges re: finalizing joint letter to                                                            0.30
                                                                   Magistrate Judge Cave.
        02/05/24            C.M. LauKamg                           Analyze USBC SDNY docket, USBC SDNY                                                                       1.20
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
        02/05/24            G. A. Zygmund-                         Finalize and file Joint Letter to Magistrate Judge                                                        0.40
                            Felt                                   re: discovery status.
        02/05/24            A. Kramer                              Review/revise Disclosure Statement amendments                                                             0.70
                                                                   re: insurance (.50); email exchange with T. Law
                                                                   re: same (.10); telephone conversation with B.
                                                                   Rosenblum & A. Butler re same (.10).
        02/06/24            C.M. LauKamg                           Analyze USBC SDNY docket, USBC SDNY                                                                       1.40
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
        02/06/24            C.M. LauKamg                           Arrange USBC SDNY February 8, 2024 Hearing                                                                0.40
                                                                   Appearances and circulate confirmations of
                                                                   same.
        02/07/24            T.P. Law                               Participate in work in process call with Diocese,                                                         0.80
                                                                   Jones Day, and Expert team.
        02/07/24            T.P. Law                               Email client re: Arrowood proof of claim and next                                                         0.40
                                                                   steps.
        02/07/24            G. A. Zygmund-                         Continue review of Date of Notice spreadsheet                                                             4.50
                            Felt                                   and discovery document review.
        02/07/24            C.M. LauKamg                           Analyze USBC SDNY docket, USBC SDNY                                                                       0.80
                                                                   adversary proceeding docket and USDC SDNY




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        Date                Timekeeper                             Description                                                                                           Hours

                                                                   docket for pleadings then update master files and
                                                                   calendar.
        02/07/24            A. Kramer                              Work in process call with JD, A&M and RS teams                                                            0.60
                                                                   re: demand cases, DS issues.
        02/08/24            C.M. LauKamg                           Analyze USBC SDNY docket, USBC SDNY                                                                       0.80
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
        02/08/24            A. Kramer                              Attend Disclosure Statement hearing (5.8);                                                                7.50
                                                                   Teams call with client and JD team re DS hearing
                                                                   (.70); review of updated demand chart (.70);
                                                                   email exchange with C. Sugayan re: DS edits
                                                                   (.20); email exchange with expert and E.
                                                                   Stephens re: report (.10).
        02/08/24            G. A. Zygmund-                         Continue review of Date of Notice spreadsheet                                                             2.80
                            Felt                                   and discovery document review.
        02/09/24 C.M. LauKamg                                     Analyze USBC SDNY docket, USBC SDNY                                                                        0.80
                                                                  adversary proceeding docket and USDC SDNY
                                                                  docket for pleadings then update master files and
                                                                  calendar.
        02/09/24 C.M. LauKamg                                     Revise USBC SDNY February 12, 2024 Hearing                                                                 0.40
                                                                  Appearances and circulate confirmations of
                                                                  same.
        02/12/24             T.P. Law                              Email exchanges with A. Kramer re: Revised                                                                0.40
                                                                   Disclosure Statement and Committee Letter.
        02/12/24 C.M. LauKamg                                     Analyze USBC SDNY docket, USBC SDNY                                                                        0.80
                                                                  adversary proceeding docket and USDC SDNY
                                                                  docket for pleadings then update master files and
                                                                  calendar.
        02/12/24 A. Kramer                                         Attend hearing re: disclosure issues (.60);                                                               3.30
                                                                   Review/revise TDP and Disclosure Statement re:
                                                                   insurance matters (2.4); email exchanges with T.
                                                                   Law and B. Rosenblum re: same (.30).
        02/13/24 J.B. Berringer                                    Emails B. Davey, C. Adams, A. Kramer re: Case                                                             3.20
                                                                   Reports (1.4); review of draft Case Reports (.60);
                                                                   review D. Sons disclaimer letter (.50); email W.




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        Date                Timekeeper                             Description                                                                                           Hours

                                                                   Chapin re: same (.20); reply letter to Sons (.30);
                                                                   review LMI letter re: DeMarco claim (.20).
        02/13/24            E. Y. Kim                              Analyze discovery responses and                                                                           2.80
                                                                   correspondence to draft deficiency letter to
                                                                   Arrowood (2.4); communications with L.
                                                                   Simmonds regarding Gallagher Bassett
                                                                   documents for production to LMI and analyze
                                                                   same (.40).
        02/13/24            L. E. Simmonds                         Analyze Relativity database and obtain                                                                    3.40
                                                                   documentation re: Hanson.
        02/13/24            C.M. LauKamg                           Arrange USBC SDNY February 15, 2024 Hearing                                                               0.40
                                                                   Appearances and circulate confirmations of
                                                                   same.
        02/13/24            C.M. LauKamg                           Analyze USBC SDNY docket, USBC SDNY                                                                       0.80
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
        02/13/24            A. Kramer                              Continue analysis of demand cases (1.4); email                                                            1.60
                                                                   exchanges with J. Berringer re: same (.20).
        02/14/24            J.B. Berringer                         Team conf. call re: strategy, hearing (.60); review                                                       2.20
                                                                   of Case Reports, emails re same (1.1); emails
                                                                   Parish Counsel re: same (.50).
        02/14/24            E. Y. Kim                              Draft deficiency letter to Arrowood and analyze                                                           3.10
                                                                   discovery responses and correspondence
                                                                   regarding same.
        02/14/24            C.M. LauKamg                           Revise USBC SDNY February 15, 2024 Hearing                                                                0.40
                                                                   Appearances and circulate confirmations of
                                                                   same.
        02/14/24            C.M. LauKamg                           Analyze USBC SDNY docket, USBC SDNY                                                                       0.80
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
        02/14/24            A. Kramer                              Work in process call with client, JD and RS teams                                                         1.80
                                                                   re: disclosure statement and Steinman docket
                                                                   (.50); continue work re: demand cases (1.3).
        02/15/24            T.P. Law                               Review and revise letter to Arrowood re:                                                                   0.30



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        Date                Timekeeper                             Description                                                                                           Hours

                                                                   discovery deficiencies.
        02/15/24            J.B. Berringer                         Attendance at Zoom hearing (1.0); review of                                                               2.10
                                                                   Arrowood deficiency letter, email T. Law re: same
                                                                   (.50); review Case reports, email W. Chapin re:
                                                                   same (.60).
        02/15/24            E. Y. Kim                              Draft and revise deficiency letter to Arrowood for                                                        3.90
                                                                   T. Law review (2.2); analyze Gallagher Bassett
                                                                   documents for LMI depositions of J. Hanson,
                                                                   Gallagher corporate representative (1.7).
        02/15/24            C.M. LauKamg                           Retrieve USBC SDNY docket for pleadings in                                                                0.80
                                                                   preparation for the February 15, 2024 Hearing
                                                                   and circulate same to Attorneys.
        02/15/24            A. Kramer                              Review/analysis of demand cases (.80); Attend                                                             2.30
                                                                   resumed DS hearing (1.5).
        02/16/24            T.P. Law                               Emails re: upcoming Hanson deposition.                                                                     0.30
        02/16/24            E. Y. Kim                              Analyze Gallagher Bassett documents to prepare                                                            3.30
                                                                   for LMI depositions of J. Hanson, Gallagher
                                                                   Bassett corporate representative (2.1); analyze
                                                                   Gallagher Bassett documents for production to
                                                                   LMI (.80); revise and finalize deficiency letter to
                                                                   Arrowood (.40).
        02/16/24            J.B. Berringer                         Arrangements for LMI deps (.50); review A.                                                                1.60
                                                                   Kramer LMI demand letter, reply re: same (.60);
                                                                   review email re: LMI doc. production (.20); review
                                                                   emails from Arrowood (.30).
        02/16/24            A. Kramer                              Draft, review and revise initial Pavia letter.                                                             2.80
        02/19/24            T.P. Law                               Address status of NY petition for ancillary                                                               0.50
                                                                   liquidation of Arrowood.
        02/19/24            C.M. LauKamg                           Analyze USBC SDNY docket, USBC SDNY                                                                       0.80
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
        02/20/24            T.P. Law                               Prepare for Hanson deposition.                                                                             0.70
         02/20/24            J.C. Schad                            Discussion with E. Kim re: policy analysis, broker                                                        1.70
                                                                   documents (.30); research for report to E. Kim re:




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        Date                Timekeeper                             Description                                                                                           Hours

                                                                   coverage for claims alleging post-1986 assault
                                                                   (.60); review, note, record documents produced
                                                                   by historic broker (.80).
        02/20/24            E. Y. Kim                              Analyze W. Chapin, M. Futter deposition                                                                   3.50
                                                                   transcripts and Gallagher documents for
                                                                   preparation for AJ Gallagher deposition (2.7); call
                                                                   with J. Berringer regarding same (.40); analyze
                                                                   correspondence regarding upcoming Evanston
                                                                   depositions and discovery tasks per J. Berringer's
                                                                   request (.40).
        02/20/24            J.B. Berringer                         Review draft demand letter to LMI, Interstate                                                             4.50
                                                                   (.30); revisions to letter (.20); review Davey letter
                                                                   re: Case Report (.20); t/cs E. Kim re: LMI deps
                                                                   (.40); review of AJ Gallagher, Hanson docs for
                                                                   depositions (1.9); prep for AJ Gallagher dep.
                                                                   (1.5).
        02/20/24            A. Kramer                              Revise Pavia letters for client and JD review.                                                             3.40
        02/21/24            T.P. Law                               Telephone conference with J. Berringer re:                                                                0.40
                                                                   Hanson deposition and upcoming A. Gallagher.
        02/21/24            T.P. Law                               Email exchange with J. Berringer and E. Kim re:                                                           0.80
                                                                   Hanson deposition.
        02/21/24            T.P. Law                               Participate in deposition of J. Hanson of                                                                 3.80
                                                                   Gallagher Bassett.
        02/21/24            T.P. Law                               Prepare for Hanson deposition.                                                                             0.70
        02/21/24            E. Y. Kim                              Attend Hanson deposition (.90); call with T. Law,                                                         2.80
                                                                   J. Berringer regarding same and AJ Gallagher
                                                                   deposition (.40); analyze Risx Facs documents
                                                                   for preparation for AJ Gallagher deposition (1.5).
        02/21/24            J.C. Schad                             Research materials received from historic broker                                                          4.40
                                                                   (3.3); analyze, notate, record historic policy
                                                                   documents, insurance information (.80); prepare
                                                                   reports to J. Berringer re: recovered policy
                                                                   materials (.30).
        02/21/24            J.B. Berringer                         Team t/c re: status, upcoming tasks (.60); review                                                         4.40
                                                                   emails re: 30(b)(6) deps (.20); review Local Rules
                                                                   re: same (.40); email T. Law re: same (.10);




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                                                                   review Arrowood deficiency letter (.30); review
                                                                   Hanson Ex. 5, t/c T. Law, E. Kim re: same (.90);
                                                                   email J. Schad re: same (.20); review emails re:
                                                                   Puglisi dep, reply to C. Adams re: same (.60);
                                                                   review document re: Ribaudo from B. Davey,
                                                                   email Davey, Kramer re: same (1.1).
        02/21/24            A. Kramer                              Work in process call with JD and RS teams re:                                                             3.40
                                                                   demands, CAMP conference and objection letters
                                                                   (.60); revise and finalize demands to insurers
                                                                   (1.3); email exchanges with client and co-counsel
                                                                   re: same (.80); address new claim objections with
                                                                   insurers (.50); address Network Adjusters issue
                                                                   raised by Allianz (.20).
        02/22/24            T.P. Law                               Email exchanges with J. Berringer re: Arrowood                                                            0.30
                                                                   depositions.
        02/22/24 E. Y. Kim                                         Prepare for AJ Gallagher deposition and analyze                                                           4.80
                                                                   documents for same (2.6); attend AJ Gallagher
                                                                   deposition (2.1); analyze exhibits to depositions
                                                                   and email T. Law regarding same (.10).
        02/22/24 C.M. LauKamg                                     Analyze USBC SDNY docket, USBC SDNY                                                                        0.60
                                                                  adversary proceeding docket and USDC SDNY
                                                                  docket for pleadings then update master files and
                                                                  calendar.
        02/22/24 J.B. Berringer                                    Prep. for AJ Gallagher dep. (.80); attendance at                                                          3.50
                                                                   deposition (2.1); emails re: demand to Interstate
                                                                   (.60).
        02/22/24            A. Kramer                              Respond to Winsberg re: DS hearing (.20);                                                                 0.50
                                                                   address Network Adjusters issue with S.
                                                                   Minarovich (.20); email exchange with insurers re:
                                                                   new claim objections filed (.10).
        02/23/24 E. Y. Kim                                         Draft response to Arrowood deficiency letter and                                                          2.20
                                                                   analyze correspondence regarding same.
        02/23/24 C.M. LauKamg                                     Analyze USBC SDNY docket, USBC SDNY                                                                        0.80
                                                                  adversary proceeding docket and USDC SDNY
                                                                  docket for pleadings then update master files and
                                                                  calendar.
        02/23/24            J.B. Berringer                         Review E. L. Kim email re: AJ Gallagher dep.                                                               0.50




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                                                                   (.20); review emails re: Boyle demand (.20);
                                                                   review emails re: Arrowood meet & confer (.10).
        02/26/24            E. Y. Kim                              Draft response to Arrowood deficiency letter (1.9);                                                       2.60
                                                                   analyze policy documents for production to LMI
                                                                   and emails with J. Berringer, J. Schad regarding
                                                                   same (.40); revise task list regarding upcoming
                                                                   discovery tasks and email J. Berringer, T. Law
                                                                   regarding same (.30).
        02/26/24            J.C. Schad                             Analyze, notate, record documents produced by                                                             2.60
                                                                   former broker (1.4); Prepare reports to J.
                                                                   Berringer, A. Kramer, E. Kim re: recovered
                                                                   historic excess policies (1.2).
        02/26/24            J.B. Berringer                         Emails to W. Chapin re: dep. prep. session (.30)                                                          4.00
                                                                   review of dep. prep Outline, docs for Chapin
                                                                   deposition (1.8); emails re: Arrowood meet &
                                                                   confer, deficiency letter (.30); review Risx Fax
                                                                   documents for mtg. with Chapin (.40); email to J.
                                                                   Schad re: AC Gallagher docs (.30); email to
                                                                   Arrowood re: remote deps (.20); review Schad,
                                                                   Kramer emails re: new LMI policies (.30); email E.
                                                                   Kim re: producing new LMI policies (.20); review
                                                                   emails re: doc. production to Insurers (.20).
        02/27/24            T.P. Law                               Emails re: joint letter to Magistrate Judge Cave                                                          0.20
                                                                   and meet and confer with Arrowood.
        02/27/24            E. Y. Kim                              Draft outline for Evanston 30(b)(6) deposition and                                                        2.80
                                                                   analyze documents regarding same (2.1); call
                                                                   with J. Berringer regarding Evanston 30(b)(6)
                                                                   deposition and Arrowood meet and confer (.40);
                                                                   emails with J. Berringer, T. Law, opposing
                                                                   counsel regarding same (.30).
        02/27/24            J.B. Berringer                         Attendance at prep. session with W. Chapin (3.7);                                                         4.70
                                                                   t/c E. Kim re: depositions (.30); review emails re:
                                                                   Evanston dep. (.30); review emails re: reports to
                                                                   LMI (.20); review emails re: Arrowood meet &
                                                                   confer (.20).
        02/28/24            J.B. Berringer                         Team call to discuss strategy issues (.50); review                                                        3.10
                                                                   of response to Arrowood deficiency letter, t/c E.
                                                                   Kim re: same (.50); review of letter to Arrowood




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        Date                Timekeeper                             Description                                                                                           Hours

                                                                   re: discovery issues (.40); review E. Kim email re:
                                                                   letter to Arrowood (.10); t/c E. Kim re: same (.10);
                                                                   prep for, attendance on meet & confer t/c with
                                                                   Arrowood (.70); prep. for Chapin deposition (.80).
        02/28/24            G. A. Zygmund-                         Continue review of document production and                                                                4.00
                            Felt                                   updating of spreadsheet.
        02/28/24            E. Y. Kim                              Prepare for and attend meet and confer with                                                               4.20
                                                                   Arrowood counsel (.90); draft outline for Evanston
                                                                   30(b)(6) deposition and analyze documents
                                                                   regarding same (2.8); revise response to
                                                                   Arrowood deficiency letter (.50).
        02/28/24            C.M. LauKamg                           Analyze USBC SDNY docket, USBC SDNY                                                                       0.80
                                                                   adversary proceeding docket and USDC SDNY
                                                                   docket for pleadings then update master files and
                                                                   calendar.
        02/28/24            A. Kramer                              Work in process call re voting, Steinman hearing                                                          0.80
                                                                   etc. (.50); email exchanges with defense counsel
                                                                   re: reports on Steinman first round non-demand
                                                                   cases (.30).
        02/29/24            J.B. Berringer                         Attendance at Chapin deposition (5.5); review                                                             7.90
                                                                   new Ribaudo docs, emails A. Kramer re: same
                                                                   (.80); emails W. Chapin, B. Davey re: reports to
                                                                   insurers (.60); review, respond to A. Kramer email
                                                                   re: Granata (.40); review of Case Report re: same
                                                                   (.40); review, reply to Kramer email re: Boyle
                                                                   reports (.20).
        02/29/24            G. A. Zygmund-                         Complete initial review of document production.                                                           6.00
                            Felt
        02/29/24 E. Y. Kim                                         Revise and finalize letter to Arrowood with                                                               2.70
                                                                   attachments (.80); draft outline for Evanston
                                                                   30(b)(6) deposition and analyze documents
                                                                   regarding same (1.9).
         02/29/24            A. Kramer                             Research, draft, review and revise demand letters                                                         3.60
                                                                   (2.8); email exchanges with B. Davey, W. Chapin,
                                                                   T. Geremia and J. Berringer re: same (.80).
        Total Hours                                                                                                                                                      181.00




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     20-12345-mg                     Doc 3020                Filed 03/26/24 Entered 03/26/24 14:25:17                                                    Main Document
                                                                        Pg 22 of 26
                                                                                                                                                                         Reed Smith LLP
                                                                                                                                                                     Three Logan Square
                                                                                                                                                                               Suite 3100
                                                                                                                                                                         1717 Arch Street
                                                                                                                                                                  Philadelphia, PA 19103
                                                                                                                                                             Telephone: -+1 215 851 8100
                                                                                                                                                                   Fax: -+1 215 851 1420
                                                                                                                                                                    Tax ID # XX-XXXXXXX


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       SUMMARY OF PROFESSIONAL SERVICES:

        Timekeeper                                                                                             Hours                          Rate                          Total
        Ann V. Kramer                                                                            39.00 hrs @ $ 1,480.00 / hr                                        57,720.00
        John B. Berringer                                                                        47.40 hrs @ $ 1,370.00 / hr                                        64,938.00
        Timothy P. Law                                                                           10.30 hrs @ $ 1,330.00 / hr                                        13,699.00
        Esther Y. Kim                                                                            38.70 hrs @ $                     765.00 / hr                      29,605.50
        James C. Schad                                                                              8.70 hrs @ $                   640.00 / hr                        5,568.00
        Christopher LauKamg                                                                      15.80 hrs @ $                     435.00 / hr                        6,873.00
        Georgia A. Zygmund-Felt                                                                  17.70 hrs @ $                     380.00 / hr                        6,726.00
        Lianna E. Simmonds                                                                          3.40 hrs @ $                   380.00 / hr                        1,292.00
        Total Professional Services                                                                                                                              186,421.50


       DISBURSEMENTS AND OTHER CHARGES

       Date                       Description                                                                                                                           Amount
                                  Duplicating/Printing/Scanning                                                             1,316.00 @ 0.10                                131.60
      01/18/2024                  E. Kim Rail Expense to attend the M. Futter Deposition                                                                                    74.00
                                  Total Expenses and Other Charges                                                                                                        205.60

       INVOICE SUMMARY

       Total Fees                                                                                                                                      $           186,421.50

       Total Expenses and Other Charges                                                                                                                $                   205.60

       TOTAL CURRENT INVOICE DUE                                                                                                                       $           186,627.10

                                  Total Amount Due                                                                                                     $           186,627.10




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                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                  599 Lexington Avenue
                                                                                                                                                                             22nd Floor
                                                                                                                                                                   New York, NY 10022
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX



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        R.C. Diocese of Rockville Centre                                                                     Invoice Number:                                3713030
        50 No. Park Avenue                                                                                   Invoice Date:                                 3/25/2024
        Att: William G. Chapin                                                                               Client Number:                                   504893
        Rockville Centre, NY 11570                                                                           Matter Number:                            504893.60006
        US - UNITED STATES


                                                                           REMITTANCE PAGE
                                                PLEASE RETURN THIS COPY WITH YOUR PAYMENT

        RE: Fee statements/fee applications




        Total Current Fees...............................................................................................$                                            6,638.00

                                  Total Due This Invoice:                                                                                             $               6,638.00




        Please Remit to:
                                                Mail To:                                                         Wire Instructions:
                                                Reed Smith LLP                                                   BNY Mellon Bank N.A.
                                                Lockbox 10096                                                    Philadelphia, PA
                                                PO BOX 70280                                                     ABA Number: 031000037
                                                Philadelphia, PA 19176-0280                                      Swift Code: IRVTUS3N (International)
                                                                                                                 Account #2-022-986
                                                                                                                 (Please Reference Invoice Number)
      20-12345-mg                    Doc 3020                Filed 03/26/24 Entered 03/26/24 14:25:17                                                     Main Document
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                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                  599 Lexington Avenue
                                                                                                                                                                             22nd Floor
                                                                                                                                                                   New York, NY 10022
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                                                                                                                                                                   Tax ID # XX-XXXXXXX



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        R.C. Diocese of Rockville Centre                                                                     Invoice Number:                                3713030
        50 No. Park Avenue                                                                                   Invoice Date:                                 3/25/2024
        Att: William G. Chapin                                                                               Client Number:                                   504893
        Rockville Centre, NY 11570                                                                           Matter Number:                            504893.60006
        US - UNITED STATES




        RE: Fee statements/fee applications


                                                                           INVOICE SUMMARY

        Total Current Fees...............................................................................................$                                            6,638.00

                                  Total Due This Invoice:                                                                                             $               6,638.00




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                                                                                                                 (Please Reference Invoice Number)
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                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                  599 Lexington Avenue
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                                                                                                                                                                   New York, NY 10022
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        R.C. Diocese of Rockville Centre                                                                     Invoice Number:                                3713030
        50 No. Park Avenue                                                                                   Invoice Date:                                 3/25/2024
        Att: William G. Chapin                                                                               Client Number:                                   504893
        Rockville Centre, NY 11570                                                                           Matter Number:                            504893.60006
        US - UNITED STATES



        DETAIL FOR PROFESSIONAL SERVICES RENDERED THROUGH February 29, 2024

         Date                Timekeeper                            Description                                                                                          Hours

         02/05/24            C.M. LauKamg                          Prepare, review and edit USBC SDNY Reed                                                                  1.00
                                                                   Smith LLP Fortieth Monthly Fee Statement in
                                                                   preparation for electronic filing.
         02/06/24            C.M. LauKamg                          Review and revise USBC SDNY Reed Smith LLP                                                               2.00
                                                                   Fortieth Monthly Fee Statement in preparation for
                                                                   electronic filing.
         02/08/24            C.M. LauKamg                          Finalize USBC SDNY Certificate of No Objection                                                           0.40
                                                                   for Reed Smith LLP Thirty-Ninth Monthly Fee
                                                                   Statement in preparation for electronic filing.
         02/08/24            C.M. LauKamg                          Revise USBC SDNY Reed Smith LLP Fortieth                                                                 1.40
                                                                   Monthly Fee Statement in preparation for
                                                                   electronic filing.
         02/08/24            A. Javian                             Review/comment on monthly fee statement.                                                                 0.70
         02/09/24            C.M. LauKamg                          Revise USBC SDNY Reed Smith LLP Fortieth                                                                 0.60
                                                                   Monthly Fee Statement in preparation for
                                                                   electronic filing.
         02/12/24            C.M. LauKamg                          Finalize, electronically file and serve USBC                                                             0.80
                                                                   SDNY Certificate of No Objection for the
                                                                   December 2023 Reed Smith LLP Monthly Fee
                                                                   Statement and update master files and calendar.
         02/16/24            C.M. LauKamg                          Revise USBC SDNY Reed Smith LLP Fortieth                                                                 0.40
                                                                   Monthly Fee Statement in preparation for
                                                                   electronic filing.
         02/19/24            C.M. LauKamg                          Revise and finalize USBC SDNY Reed Smith LLP                                                             1.50
                                                                   Fortieth Monthly Fee Statement in preparation for
                                                                   electronic filing.




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                                                                                                                                                                        Reed Smith LLP
                                                                                                                                                                  599 Lexington Avenue
                                                                                                                                                                             22nd Floor
                                                                                                                                                                   New York, NY 10022
                                                                                                                                                            Telephone: -+1 215 851 8100
                                                                                                                                                                  Fax: -+1 215 851 1420
                                                                                                                                                                   Tax ID # XX-XXXXXXX



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         Date                Timekeeper                            Description                                                                                          Hours

         02/20/24            C.M. LauKamg                          Finalize, electronically file and coordinate service                                                     1.80
                                                                   of USBC SDNY Reed Smith LLP Fortieth Monthly
                                                                   Fee Statement and update master files and
                                                                   calendar.
         02/27/24            C.M. LauKamg                          Prepare, review and revise USBC SDNY Tenth                                                               2.50
                                                                   Interim Fee Application in preparation for
                                                                   electronic filing.
         02/28/24            C.M. LauKamg                          Review and revise USBC SDNY Tenth Interim                                                                0.80
                                                                   Fee Application in preparation for electronic filing.
         Total Hours                                                                                                                                                      13.90


        SUMMARY OF PROFESSIONAL SERVICES:

         Timekeeper                                                                                            Hours                         Rate                         Total
         Aaron Javian                                                                              0.70 hrs @ $                1,280.00 / hr                            896.00
         Christopher LauKamg                                                                     13.20 hrs @ $                    435.00 / hr                       5,742.00
         Total Professional Services                                                                                                                                6,638.00

        INVOICE SUMMARY

        Total Fees                                                                                                                                    $               6,638.00

        TOTAL CURRENT INVOICE DUE                                                                                                                     $               6,638.00

                                  Total Amount Due                                                                                                    $               6,638.00




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